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                               UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA


                                    RELATED CASE ORDER
        A Motion for Administrative Relief to Consider Whether Cases Should be Related or a
Sua Sponte Judicial Referral for Purpose of Determining Relationship (Civil L.R. 3-12) has been
filed. The time for filing an opposition or statement of support has passed. As the judge assigned
to case
         22-cv-07336-JSC
         Lam v. Bankman-Fried
        I find that the more recently filed case(s) that I have initialed below are related to the case
assigned to me, and such case(s) shall be reassigned to me. Any cases listed below that are not
related to the case assigned to me are referred to the judge assigned to the next-earliest filed case
for a related case determination.
 Case                  Title                          Related Not Related
 22-cv-07444-JSW Pierce v. Bankman-Fried              JSC
 22-cv-07620-TSH Hawkins v. Bankman-Fried JSC
 22-cv-07666-VC        Jessup v. Bankman-Fried        JSC


                                               ORDER
         The parties are instructed that all future filings in any reassigned case are to bear the
initials of the newly assigned judge immediately after the case number. Any case management
conference in any reassigned case will be rescheduled by the Court. The parties shall adjust the
dates for the conference, disclosures and report required by Federal Rules of Civil Procedure 16
and 26 accordingly. Unless otherwise ordered, any dates for hearing noticed motions are vacated
and must be re-noticed by the moving party before the newly assigned judge; any deadlines set by
the ADR Local Rules remain in effect; and any deadlines established in a case management order
continue to govern, except dates for appearance in court, which will be rescheduled by the newly
assigned judge.


Dated: December 19, 2022                           By:
                                                   Jacqueline Scott Corley
                                                   United States District Judge
